 Case 5:19-cv-00084-MFU Document 11 Filed 12/23/19 Page 1 of 1 Pageid#: 45
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ATIA S PACIFIC EN GIN EERIN G CO .,
a D elaware corpotationy

      Plaintiff
                                                   Case N o.:5:19-CV-0084
V.

N ATION AL FRU IT PRO D U CT CO .IN C.,
a Virginia corporation
                                                   By: M ichaelF.U rbansld
      Defendant                                    ClziefUnited StatesDistdctJudge

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withoutpzejudicepursuanttoRule41(a)(1)(A)(i)oftheFedetalRulesofCivilProcedure.
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